






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00858-CR






Richard Deangelo Dunlap, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 426TH JUDICIAL DISTRICT

NO. 68,726, THE HONORABLE FANCY H. JEZEK, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Richard Deangelo Dunlap seeks to appeal from a judgment of conviction for
harassment by a person in a correctional facility.  See Tex. Penal Code Ann. § 22.11 (West 2011). 
The trial court has certified that:  (1) this is a plea bargain case and Dunlap has no right of appeal,
and (2) Dunlap waived the right of appeal.  Accordingly, the appeal is dismissed.  See Tex. R. App.
P. 25.2(a)(2), (d).


						__________________________________________

						Melissa Goodwin, Justice

Before Justices Puryear, Henson and Goodwin

Dismissed for Want of Jurisdiction

Filed:   January 31, 2012

Do Not Publish


